                   Case 1:19-cv-00715-LO-IDD Document 1-2 Filed 06/04/19 Page 1 of 2 PageID# 520
JS44 (Rev.02/19)                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pjeadings or other papers as required by law, except as
provided Iw local rules ofcourt. This form,approved by the Judicial Conference ofthe United States in September 1974, is required for the use ofthe Clerk ofCourt for the
purpose ofinitiating the civil docket sheet. (SEEINSTRUCTIONS ON NEXTPAGE OF THISFORM.)
I.(a) PLAINTIFFS                                                                                            DEFENDANTS

Juul Labs, Inc.                                                                                           The Unincorporated Associations Identified In Schedule A

  (b) County of Residence ofFirst Listed Plaintiff                                                          County of Residence of First Listed Defendant
                                (EXCEPTIN U.S. PLAINTIFF CASES)                                                                           (IN US.PLAINTIFF CASES ONLY)
                                                                                                            NOTE:      IN LAND CONDEMNATION CASES,USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.


  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (IfKnown)




II. BASIS OF JURISDICTION(Place an "X"in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an "X"in One Boxfor Plaintiff
                                                                                                       (For Diversity Cases Only)                                              and One Boxfor Defendant)
G 1 U.S. Government                 ^3 Federal Question                                                                             RTF      DEF                                               FTP          DEF
         Plaintiff                             (U.S. Government Not a Party)                      Citizen ofThis State              G 1       G    1    Incorporated or Principal Place          G 4        G4
                                                                                                                                                          of Business In This State


G 2 U.S. Government                  G 4 Diversity                                                Citizen ofAnother State           G 2       G 2 Incorporated and Principal Place               G 5        G5
       Defendant                           (Indicate Citizenship ofParties in Item III)                                                                   ofBusiness In Another State


                                                                                                   Citizen or Subject ofa           G 3       G 3 Foreign Nation                                 G 6        G6
                                                                                                     Foreien Country

IV. NATURE OF SUIT(Fhce an "X"in One Box Only)                                                                                                Click here for: Natui]g.ofSuiLCodg_Dgscj^^
                                                                                                     iFOREElTURE/PENAUTTfija m:4gil;BANKRllKr6yS8<S^ sfM^OTHER^STaTUTESSMal
□ 110 Insurance                         PERSONAL INJURY                PERSONAL INJURY             □ 625 Drug Related Seizure            □ 422 Appeal 28 USC 158            G 375 False Claims Act
O 120 Marine                        □ 310 Airplane                 □ 365 Personal Injury -               of Property 21 USC 881          □ 423 Withdrawal                   G 376 Qui Tam (31 USC
a 130 Miller Act                    □ 315 Airplane Product               Product Liability         □ 690 Other                                 28 USC 157                         3729(a))
O 140 Negotiable Instrument               Liability                □ 367 Health Care/                                                                                       G 400 State Reapportionment
O 150 Recovery of Overpayment       □ 320 Assault, Libel &               Pharmaceutical                                                  =af:;PROPERTYiRliGHTSsgiait; G 410 Antitrust
      & Enforcement of Judgment             Slander                       Personal Injury                                                □ 820 Copyrights                   G 430 Banks and Banking
O 151 MedicareAct                   □ 330 Federal Employers'              Product Liability                                              □ 830 Patent                       G 450 Commerce
□ 152 Recovery of Defaulted               Liability                □ 368 Asbestos Personal                                               □ 835 Patent - Abbreviated         G 460 Deportation
       Student Loans                □ 340 Marine                           Injury Product                                                       New Drug Application        G 470 Racketeer Influenced and
      (Excludes Veterans)           □ 345 Marine Product                   Liability                                                     8 840 Trademark                              Corrupt Organizations
□ 153 Recovery of Overpayment               Liability               PERSONAL PROPERTY            .UABOR-                                   SOCIAB SEGURrrvygg?^ G 480 Consumer Credit

       of Veteran's Benefits        □ 350 Motor Vehicle            □ 370 Other Fraud  G 710 Fair Labor Standards                         G 861 HIA(1395fO                   G 485 Telephone Consumer
G 160 Stockholders' Suits           □ 355 Motor Vehicle            □ 371 Truth in Lending                 Act                            G 862 Black Lung (923)                       Protection Act
□ 190 Other Contract                       Product Liability       □ 380 Other Personal            G 720 Labor/Management                G 863 DIWC/DIWW (405(g))           G 490 Cable/Sat TV
□ 195 Contract Product Liability    □ 360 Other Personal                 Properly Damage                  Relations                      G 864 SSID Title XVI               G 850 Securities/Commodities/
□ 196 Franchise                           Injury                   □ 385 Property Damage           G 740 Railway Labor Act               G 865 RSI (405(g))                       Exchange
                                    □ 362 Personal Injury -              Product Liability         G 751 Family and Medical                                                 G 890 Other Statutory Actions
                                          Medical Malpractice                                             Leave Act                                                         G 891 Agricultural Acts
     r. REAIi^PROPERTV»i;j               CIVIliRIGHTSi             iHPRISONERPE'nTIONSg            G 790 Other Labor Litigation            aPEDERALi/TAJOSUllFSl            G 893 Environmental Matters
□ 210 Land Condemnation             □   440 Other Civil Rights        Habeas Corpus;               G 791 Employee Retirement             G 870 Taxes (U.S. Plaintiff        □ 895 Freedom of Information
□ 220 Foreclosure                   □   441 Voting                 □ 463 Alien Detainee                  Income Security Act                    or Defendant)                         Act
□ 230 Rent Lease & Ejectment        □   442 Employment             □ 510 Motions to Vacate                                               G 871 IRS—Third Party              G 896 Arbitration
□ 240 Torts to Land                 □   443 Housing/                      Sentence                                                                26 USC 7609               G 899 Administrative Procedure
□ 245 Tort Product Liability                Accommodations         G 530 General                                                                                                      Act/Review or Appeal of
□ 290 All Other Real Property       □ 445 Amer. w/Disabilities •   G 535 Death Penalty                     IMMIGRATION j            r                                                 Agency Decision
                                            Employment                Other:                       G 462 Naturalization Application                                            G 950 Constitutionality of
                                    □ 446 Amer. w/Disabilities ■ G 540 Mandamus & Other            G 465 Other Immigration                                                            State Statutes
                                            Other                  G 550 Civil Rights                     Actions
                                    □ 448 Education                 G 555 Prison Condition
                                                                   G 560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement

V. ORIGIN (Place an "X" in One Box Only)
X1 Original              □ 2 Removed from                □     3   Remanded from              □ 4 Reinstated or       □ 5 Transferred from              □ 6     Multidistrict           □ 8 Multidistrict
       Proceeding               State Court                        Appellate Court                 Reopened               Another District                      Litigation -                  Litigation -
                                                                                                                             (specify)                          Transfer                      Direct File
                                         Cite the U.S. Civil Statute under which you are filins (Do not citejurisdictional statutes unless tSversify):
                                          15U.S.C.§1114,15U.S.C. §1'f25, 15 U.I I.e. §1111(3), 15 U.S.C.§1117
VI. CAUSE OF ACTION Brief description of cause:


VII. REQUESTED IN     □ CHECK IF THIS IS A CLASS ACTION                                               DEMANDS                                       CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.F.                                                                                                    JURY DEMAND:                    □ Yes        ONo

VIII. RELATED CASE(S)
                                            (See instructions):
        IF ANY                                                     JUDGE                                                                    DOCKET NUMBER

DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
06/04/2019                                                           /s/ Monica Riva Talley
FOR OFFICE USE ONLY

   RECEIPT#                     AMOUNT                                    APPLYING IFP                                      JUDGE                               MAG. JUDGE
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